Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 1 of 25 Page ID #:3




     1   MARLANA SMITH
     2   MARTHA SMITH
         16348 River Glen Lane
     3   Fontana California 92336
     4   lCIL'C\) :1-ls· Y-1 VI
     5   Special Appearance
     6
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     7       I   -




                                  UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                         EASTERN DIVISION
         SOUTHERN CALIFORNIA               E C~0----,~1~3,_.__-__...0/1....:..:!2 2 0 9
    14   INVESTORS, INC.
                                                Former Removed
    15                                          Case No.: UDFS 1300325
    16                   Plaintiff,             Complaint Filed: February 14, 2013
            vs.                                 Judge: Honorable John Pacheco
    17
    18   MARLANA J SMITH, MARTHA                 NOTICE OF REMOVAL
         JEAN SMITH, DATA WEST INC.,
    19   A CALIFORNIA CORPORATION,              HEARING:
    20   and DOES 1 TO 10, INCLUSIVE,           Date: December 03, 2013
                                                Time: 1:30 p.m.
    21
                                                Dept:
                         Defendants.
    22
    23            To THE STATE OF CALIFORNIA SUPERIOR COURT, COUNTY OF
    24   SAN BERNARDINO, FONTANA DISTRICT, To Plaintiff, SOUTHERN
    25   CALIFORNIA INVESTORS, INC., [hereinafter "SCII"] and its attorney of
    26   record:
    27
    28


                                             -1-of-6-
Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 2 of 25 Page ID #:4




    1                                 NOTICE OF REMOVAL
   2    MARLANA J SMITH, hereby removes debt collection Case No. UDFS
   3    1200712, from THE STATE OF CALIFORNIA SUPERIOR COURT, COUNTY
   4    OF SAN BERNARDINO, FONTANA DISTRICT, to the UNITED STATES
    5   DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA,
   6    EASTERN DISTRICT, pursuant to Title 28 > Part IV > Chapter 89 > § 1332, §
    7   1441 and§ 1446, and as ground for its removal, hereby states under Oath, a
    8 follows:
    9                                Preliminary Statement
  10          1.    MAR LANA J SMITH, by pro se counsel for the removing party
  11    litigant named as the Defendant in the within action.
  12          2.    MARLANA J SMITH, relying on Hall v. Bellman, (10th Cir. 1991),
  13 where the Court stated that "A ProSe litigant's pleading are to be construed
  14    liberally and to a less stringent standard than formal pleadings drafted by
  15    lawyers ... If a Court can reasonably read the pleadings to state a valid claim
  16    on which Plaintiff could prevail, it should do so despite the Plaintiff's failure to
  17    cite proper legal authority, his confusion of various legal theories, his poor
  18 syntax and sentence construction or his unfamiliarity with pleading
  19    requirements."
  20                                      JURISDICTION
  21                                 Federal Debt Collection
  22          3.    On February 14, 2013, Plaintiff, SOUTHERN CALIFORNIA
  23    INVESTORS, INC., "SCII," filed the removed debt collection Complaint in
  24    CALIFORNIA State Court. A copy of the Complaint is attached as Exhibit "1,"
  25    and a Copy of the Answer is attached as "Exhibit "2."
  26          4.    The complaint is not well-pleaded, but nonetheless SCI I is a
  27    limited partnership who makes a claim that it purchased debt from its debt
  28    collector assignor,


                                             -2- of- 6-
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   1         5.    As the purchaser of a third party debt collection attorneys, SCII,
   2   misused the CALIFORNIA State judicial and foreclosure procedure to collect
   3 a federal third party debt, where the debt collection procedure is governed
   4   exclusively by federal law. Title 15 >Chapter 41 >Subchapter V >§ 1601 et
   5 seq., Title 28 >Part VI> Chapter 176. Such misconduct and misuse of proces
   6   supports removal and warrants finding that the Plaintiff acted in bad faith to
   7   prevent removal of the action. Title 28 >Part IV> Chapter 89 >§ 1446(c)(3)(B).
   8         6.    The Complaint is not well-pleaded, but nonetheless identifies the
   9   Plaintiff as a third party debt collector of a federally guaranteed loan.
  10         7.    The debt collection of defaulted mortgages is exclusively the
  11   province of the Secretary of the Department of Housing and Urban
  12   Development, "Secretary," or a duly authorized and appointed delegate.
  13         8.    The Complaint was required, but failed to allege preliminary and
  14   material facts prerequisite to the allegation of a claim of proper ownership,
  15   i.e., authorized foreclosure and for possession. 12 USC §3151.
  16         9.    As required by Title 28 >Part IV> Chapter 89 >commencing with§
  17   1446(a) and Rule 4.02, copies of all process, pleading, orders, and other
  18   papers or exhibits filed in the State Court case are attached hereto as Exhibit
  19   "1 ,"and made part herein by reference.
  20         10.   The prosecution of the third party collection of the alleged federal
  21   debt is exclusively within the original jurisdiction of the United States District
  22   Court and Florida law is preempted.
  23         11.   The law of the contract contained within a CALIFORNIA- Single
  24   Family- Fannie Mae/Freddie Mac UNIFORM INSTRUMENT- MERS,
  25   "MORTGAGE," security instrument in the Office of the Public records of SAN
  26   BERNARDINO, County, State of CALIFORNIA, which states at page 2 of 15:
  27               "(I) "Applicable Law" means all controlling applicable federal.
  28   state and local statutes, regulations ordinances and administrative rules and


                                            -3- of- 6-
Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 4 of 25 Page ID #:6




   1   orders (that have the effect of law)   as well as all applicable final, non-
   2   appealable judicial opinions."
   3         12.   The contract sued upon, governing the third party debt collection,
   4   agrees with federal preemption of CALIFORNIA State judicial foreclosure law.
   5         13.   Plaintiff, a third party debt collectors, and its attorneys, misused
   6   the CALIFORNIA State judicial foreclosure procedure to collect a federal third
   7   party debt, where the debt collection procedure is governed exclusively by
   8 federal law. Title 15 >Chapter 41 >Subchapter V >§ 1601 et seq., Title 28 >
   9   Part VI> Chapter 176.Such misconduct and misuse of process supports
  10   removal and warrants finding that the Plaintiff acted in bad faith to prevent
  11   removal of the action. Title 28 >Part IV> Chapter 89 >§ 1446(c)(3)(B).
  12                    Federal Preemption Grounds for Removal
  13         14.   The collection of federal debt is the exclusive arena of the federal
  14   law and federally guaranteed loan foreclosures are the exclusive province of
  15 the Secretary of the Department of Housing and Urban Development.
  16         15.   The underlying obligation was a Fannie Mae originated product.
  17         16.   Fannie Mae is a federal corporation, chartered under the United
  18   States Code, is a real party in interest, and a necessary and proper party.
  19         17.   Plaintiff is contracted with the third party "Debt Collector'' assigned
  20   under the Pooling and Servicing Agreement.
  21         18.   Title 28 >Part VI >Chapter 176 >Subchapter A >§ 3001 of the
  22   United States Code states:
  23               "(a) In General.- Except as provided in subsection (b), the [1]
  24               chapter provides the exclusive civil procedures for the United
  25               States-
  26               (1) to recover a judgment on a debt;"
  27         19.   Title 15 >Chapter 41 >Subchapter V >§ 1601, et seq., of the
  28   United States Code regulates deceptive debt collection practices and governs


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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 5 of 25 Page ID #:7




   1 the activity of Plaintiff in enforcing the collection of the alleged debt.
  2                                          Venue
  3    20.   Venue is proper in this Court pursuant to 28 USC 1441(a) and 1446(b)
  4    because the UNITED STATES DISTRICT COURT FOR THE CENTRAL
   5   DISTRICT OF CALIFORNIA EASTERN DIVISION, is the federal judicial
  6    district embracing the STATE OF CALIFORNIA SUPERIOR COURT,
  7    COUNTY OF SAN BERNARDINO, FONTANA DISTRICT, where the State
   8   Court Action was originally filed.
   9                               Amount in Controversy
 1o          21.   The value of property that is the third party debt being collected is
 11    in excess of $75,000.00, excluding interest, fees, costs and expenses.
 12    Complaint alleged value of property is in excess of $75,000.00, which is the
 13    subject of a proceeding, is the amount in controversy. The value of the
 14    property exceeds the minimum jurisdictional limit, being more than
 15    $75,000.00.
 16          22.   The State Court action may be properly removed to this Court.
 17                                          Notice
 18          23.   Written notice of removal of this action will be promptly served to
 19    Plaintiff and a NOTICE OF FILING, NOTICE OF REMOVAL filed with the
 20    Clerk of the STATE OF CALIFORNIA SUPERIOR COURT, COUNTY OF
 21    SAN BERNARDINO, FONTANA DISTRICT. A copy of this Notice of Filing is
 22    attached hereto as Exhibit "3."
 23          24.   WHEREFORE, Defendant hereby removes the above captioned
 24    action case from STATE OF CALIFORNIA SUPERIOR COURT, COUNTY 0
 25    SAN BERNARDINO, FONTANA DISTRICT, terminating jurisdiction and
 26    enforcement of orders of the STATE OF CALIFORNIA SUPERIOR COURT,
 27    COUNTY OF SAN BERNARDINO, FONTANA DISTRICT, over the case and
 28    the parties, such that further proceedings be conducted in this Court.


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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 6 of 25 Page ID #:8




  1         25.   A copy of the foregoing was sent via mail to Plaintiff SOUTHERN
  2   CALIFORNIA INVESTORS, INC ..
  3         26.   A copy of the foregoing was sent via mail to retained third party
  4   debt collection attorneys H.G. Long & Associates, 634 Oak Court, San
  5   Bernardino, CA 92410.
  6         27.   The State Court action may be properly removed to this Court.
  7   Dated: December 03, 2013
  8                                    MARLANA J SMITH
  9
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 11   Dated: December 03, 2013
 12                                    MARTHA JEAN SMITH
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 14                                    By:MP ~i/u.~,--.c-u-mc--
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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 7 of 25 Page ID #:9




   1                                    PROOF OF SERVICE
   2       I am over the age of 18 and not a party to this action. My business address is
   3   12981 Perris Blvd. Suite 113, Moreno Valley, CA 92553, which is located in the
       county where the mailing described took place.
   4
   5        On December 03, 2013, I provided Notice to the Unlawful Detainer Plainttff and
       to the Defendants in the Unlimited Civil matter by mail described as: NOTICE OF
   6   REMOVAL, by service upon:
   7                                 See Attached Mail List
   8     xx       I deposited the foregoing documents in the United States Postal Service.
       Executed in Moreno Valley, California.
   9
  10   (State) XXXX I declare under penalty of perjury under the laws of the State of
       California that the above is true and correct.
  11   [X] BY FAX TRANSMISSION.
  12   SOUTHERN CALIFORNIA INVESTORS, INC. -Fax: 909-889-3900
  13   PMC BANCORP- Fax: 626-964-4010
       QUALITY LOAN SERVICE CORPORATION- Fax: 619-757-2355
  14
             I faxed the documents to the person(s) at the fax numbers listed above. No
  15
       error was reported by the fax machine that I used.
  16
             I declare under penalty of perjury under the laws of the State of California tha
  17
       the above is true and correct.
  18
       Executed on December 03, 2013 at Moreno Valle        California
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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 8 of 25 Page ID #:10




   1                                    MAIL LIST
   2   SOUTHERN CALIFORNIA INVESTORS, INC.
   3   c/o H.G. Long & Associates
       634 Oak Court
  4    San Bernardino, CA 92410
   5
   6   PMC BANCORP
   7   17800 Castleton St. Suite #488
       City of Industry, CA 91748
  8    Tel: 626-964-4040
  9    Fax: 626-964-401 0

 10 QUALITY LOAN SERVICE CORPORATION
 11    2141 5th Ave.
       San Diego, CA 92101
 12    Fax: 619-757-2355
 13    ///

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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 9 of 25 Page ID #:11




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                   EXHIBIT "1"
  16           NOTICE OF REMOVAL
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    Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 10 of 25 Page ID #:12




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 2 . designated a~ "OOE:S 1 TO lO:IF'; however, Plaintiff is info:r::lned., believ§ll$ and

 3    .:all~qea., tha.t. at all relevant times mentioned in this Canplaint, the ~

 4    Pefen$1nt#!J and ,OOES 1: TO 10 ~e been in pos:seasi.on of the PX"~rty •

 5-           3.      Plaintif~     is a California corporatian.,

 6            4.      Plaintiff is the owne-r and ~ntitled to ~o$s.ession .of tb;e property

 7                    On or about 'Apx:ll l.D~ 2Gl2, pJ.a.1ntl.f.f became :thi! e-tmer :of the

 g    pttope:rt.y by purcnasing sq.id; property in a trustee's Sale following

 9    for®lo~~ pr.Qc~din.qS:.            Scrld foreclosure sale and all not:icea J?~ffin!J

10    ~a:f.d foreclosue were done in CQ111Pliance witn. Californi~ Civil Code s2:9~4 et*

11    seq. and title under said sale has been duly perf$Qt~tf.

12                    No laadJ.o.rci/tenant relationship e¥!.sts between the Plaiatiff and



14            7.      Eo:c the perioc;i from April 10, .2012·, to pre.s~nt~' .Defencwi:tJs}

15    occupied the property, without the consent or a~tho:z:izet.tiop o~ t-he Pl.aint.ifr.

16 .. Oefi:mdant{,s} "s. tiUe, if any-,      t:o the property# that exii!Jted prior to Aprll
11    1<1, 2lfl2, was ext.inquishtld by sa:!d      foreclo$~6      and Trustee" s S:ale....

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19    ~.fenclant   (s) a    wtUt.en notice in eompliance with the com. of Civil J:1:oced1,1re,
20 . 116l et.      se~."    J::equiring: and demand!.ng that Defendant (s) qtti.:t   .<~J:nd   delivatr up

21 . possession of the· :property tao rlaint!.ff within thJ;ee (3} days after the

2:.2 . service of the notice on the.          A tt(Ue and e(lr.tect copy of the Notice to Quit

23    is attachec$ hereto as Exhibit l.           The notice was served on F'eb.ruary lh 2:013

24    in   cQi'ilpli~e     wi-th Code. of Ci'V'il l?rocedure Section 11.62 and the- p):oof of

25    service fo'lt the Noti.ce to      OJll.t is attached as     Exhibit ~.    Said notice expired

26    on February 9, 2012, but Defendant ( sl failed and. refused to ql,U.t and deliver

27    up possession o£ th-e px:operty unt;U present.

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              COMPLAINT FOR UliiLAHFUL       ~TAINER    1\CTION BASED ON CODE O.F CIVIL          PR~EDURB    •

                                              SECTION   1161~ w   2
 Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 12 of 25 Page ID #:14




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 2 . beginninq .April 17 7 2:012:' !OJ' tbt;t             U!i$1 ~   O¢¢Upancf t.;)f the property, the

 3   , :C$'~onable ira.lue the:t"eof.           ·B$£o~e    this   eas~   wa$ rUed, there was a prior case

 4    .i&;mt.i~l 't¢          this one, with one minor defect                 {th~   Plaintiff's name on the

 5   Noti~      to Qu:i t was incorrect) •              In case nmnber ODfS 1200712, Defendant was

 6 · . served with a Notice to. Quit that expired on April 17, 2012. Pla:l,..ntiff seeks

 7 . daily    dallla~          for the use of      occu~cy        of thf! property from the original

 8 · Notice t.a Cl!.l!t sJt®ld the court allow it.                       In the alternatiVth however;

 9   J?laintiff is entltl£!14 to ®Ng• ill t.he                      s~     of $1(}..00 per 4ay begit:Ui:ing

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11   value    thereof~

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13   noti~      and Jlefendant{sl has/have neg1e.oted and refused, and still nEi<,Jiect($)

14   at1d refuse {sJ , to vaqate and ~iver Q.P pws$essJ;Qn .of the property to

15 · 21ainti£f.

1$            11.            Defendant:(s} h6ld:(s) over and continue(s) in possession of the

1:7 : pJ:PPerty will.fu~ly, int:4\Ulti()nally and deliberately without pe:rmission or

la   :consent       ot Plaintiff,-· anr:l      Plaintiff is entitled to immedia-te possession of

19   ·the   p~oper;t.y.


20            1.2...         P1a.in.ti.f~ bas: ~ustaine(l dame!~:~$ :l.ii th$ atno\ll;lit of the ~~at$i:i;lnable

21   .re,ntal value of the property, to w;i:t,                 ~70.,0\>,   per; .day, heq.inninq Apr.i;!,   n,
22   2012 and will cootinue to sustain damages at said ra:t'El. for so lang u

23 : Defendant{s} r.emain(s} in possession of tl1e                       property~

24            WHEREFORE., Plaintiff prays against D~f.e~{sl, and each of them as

25   follows:

26            1.        , For restitution and possession of the property

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              COMPLAINT FOR UNIAJili'UL DETAINER ACTION BASED ON CODE. OF CIVIL PRDCEDURlil

                                                     SECT!ON ll6la - 3
Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 13 of 25 Page ID #:15




l            2.
2       2012 or as q¥lPW4ild by law; or in the alternative for damages i.n the ~t of



 4           3 •.   For plainti.tfs coat$ <tf s.uit;

 5                  For such, other and   furt~t:   reli:et as the Court may deem proper.

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 7      Dat.iad F~· 14., 2013



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              COMP!JU'NT FOR UNLAWFUL DETAWER ACTION BASJllD ON CODE OF CJ:VIL PROCEDURE

                                          SEC'l'!O'N 116la - 4
Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 14 of 25 Page ID #:16




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27                                    EXHIBIT A
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    Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 16 of 25 Page ID #:18
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  Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 17 of 25 Page ID #:19




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28                                    EXHIBITB
Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 18 of 25 Page ID #:20




                                  aooror SERVICE OF Nona

        ADDRESS:.16343lUNerOten Lu.,. Fontamr, CA 92336
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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 19 of 25 Page ID #:21




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                   EXHIBIT "2"
  16           NOTICE OF REMOVAL
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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 20 of 25 Page ID #:22




   1   MARLANA SMITH
   2   MARTHA SMITH
       16348 River Glen Lane
   3   Fontana California 92336
   4
   5   Special Appearance
   6
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   9
 10                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
 11                   IN AND FOR THE COUNTY OF SAN BERNARDINO
 12                                            Case No.: UDFS 1300325
       SOUTHERN CALIFORNIA
 13    INVESTORS, INC.                         Complaint Filed: February 14, 2013
 14                                            Judge: Honorable John Pacheco

 15                   Plaintiff,               NOTICE OF FILING
 16       vs.                                  HEARING:
 17    MARLANA J SMITH, MARTHA                 Date: December 03, 2013
       JEAN SMITH, DATA WEST INC.,             Time: 1:30 p.m.
 18                                            Dept:
       A CALIFORNIA CORPORATION,
 19    and DOES 1 TO 10, INCLUSIVE,
 20
 21                   Defendants.
 22             To the Court, to Plaintiff, SOUTHERN CALIFORNIA INVESTORS, INC.
 23    [hereinafter "SCII"] and its attorney of record:
 24             Comes now MARLANA J SMITH, by and through the undersigned pro
 25    se counsel, and hereby files this NOTICE OF FILING.
 26             PLEASE TAKE NOTICE THAT on Monday, December 03, 2013,
 27    MARLANA J SMITH, named defendant, by pro se counsel filed a NOTICE OF
 28    REMOVAL, pursuant to 28 USC 1332, 1441, 1446, removing the above-


                                            -1-of-4-
Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 21 of 25 Page ID #:23




     1   captioned action and terminating jurisdictional authority over the case and the
     2   parties from THEE STATE OF CALIFORNIA SUPERIOR COURT, COUNTY
     3   OF SAN BERNARDINO, FONTANA DISTRICT. A copy of the NOTICE OF
     4   REMOVAL is attached hereto as Exhibit "1."
     5        PLEASE TAKE FURTHER NOTICE that upon the filing of the NOTICE
     6   OF REMOVAL with the Clerk of the UNITED STATES DISTRICT COURT
     7   FOR THE CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION, and
     8   filing copies thereof with THE STATE OF CALIFORNIA SUPERIOR COURT,
     9   COUNTY OF SAN BERNARDINO, MARLANA J SMITH has effected removal
    10   and THE STATE OF CALIFORNIA SUPERIOR COURT, COUNTY OF SAN
    11   BERNARDINO, FONTANA DISTRICT, and all actors, officers and agents
    12   authorized thereunder, SHALL PROCEED NO FURTHER IN THE ACTION,
    13   unless and until the case is remanded pursuant to 28 USC 1446(d).
    14   Dated: This 3rd day of December, 2013
    15                                   MARLANA J SMITH
    16
    17
    18   Dated: This 3rd day of December, 2013
    19                                   MARTHA JEAN SMITH
    20
    21                                   By:MP ""'nttnC~rc:eAgenl~nC~AgenlmComrnarce"9'rtmC.,....._,eAg&nto~eorm-c.~.,comnerm.Agomt.,c~
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Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 22 of 25 Page ID #:24




     1                                    PROOF OF SERVICE
     2       I am over the age of 18 and not a party to this action. My business address is
     3   12981 Perris Blvd. Suite 113, Moreno Valley, CA 92553, which is located in the
         county where the mailing described took place.
     4
     5        On December 03, 2013, I provided Notice to the Unlawful Detainer Plaintiff and
         to the Defendants in the Unlimited Civil matter by mail described as: NOTICE OF
     6   FILING, by service upon:
     7   See Attached Mail List

     8     xx       I deposited the foregoing documents in the United States Postal Service.
         Executed in Moreno Valley, California.
     9
    10   (State) XXXX I declare under penalty of perjury under the laws of the State of
         California that the above is true and correct.
    11   [X] BY FAX TRANSMISSION.
    12   SOUTHERN CALIFORNIA INVESTORS, INC.- Fax: 909-889-3900
    13   PMC BANCORP- Fax: 626-964-4010
         QUALITY LOAN SERVICE CORPORATION- Fax: 619-757-2355
    14
               I faxed the documents to the person(s) at the fax numbers listed above. No
    15
         error was reported by the fax machine that I used.
    16
               I declare under penalty of perjury under the laws of the State of California tha
    17
         the above is true and correct.
    18
         Executed on December 03, 2013 at Moreno Valley, California
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,..,   Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 23 of 25 Page ID #:25




            1                                     MAIL LIST
            2   SOUTHERN CALIFORNIA INVESTORS, INC.
            3   c/o H.G. Long & Associates
                634 Oak Court
            4   San Bernardino, CA 92410
            5
            6   PMC BANCORP
            7   17800 Castleton St. Suite #488
                City of Industry, CA 91748
            8   Tel: 626-964-4040
            9   Fax: 626-964-4010

           10 QUALITY LOAN SERVICE CORPORATION
           11 2141 5th Ave.
                San Diego, CA 92101
           12   Fax: 619-757-2355
           13   ///

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    Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 24 of 25 Page ID #:26
JS 44 (Rev. 12112)                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service ofple~s or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is requued for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
SOVTHERN CALIFORNIA INVESTTORS INC                                                                           MARLANA J SMITH, MARTHA JEAN SMITH, DATA WEST INC., A
                                                                                                             CALIFORNIA CORPORATION

    (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant                    SAN BERNARDINO
                                (EXCEPT IN US. PLAlNTIFF CASES)                                                                       (IN US. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.


    (C) Attorneys (Firm Nam£. Address, and Telephone Number)                                                    Attorneys (If Known)
H.G. Long & Associates
634 Oak Court
San Bernardino, CA 9241 0

II. BASIS OF JURISDICTION (Piacean 'X"inOneBoxOnlyJ                                              UI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                             and One Box for Defendant)
0 I     U.S. Government              ~ 3        Federal Question                                                                         PTF        DEF                                          PTF       DEF
          Plaintiff                               (U.S. Government Not a Party)                      Citizen of This State               a     I     a    I   lnc01porated or Principal Place     a    4   a    4
                                                                                                                                                                ofBusiness In This State

a   2   U.S. Goveroment                 a   4   Diversity                                            Citizen of Another State            a     2     a    2   Incorporated and Principal Place    a        a    5
           Defendant                              (Indicate Citizenship ofParties in Item III)                                                                   ofBusiness In Another State

                                                                                                      Citizen or Subject of a            a     3     a    3   Foreign Nation                      a    6   a    6

IV NATURE OF SUIT (Place an "X" in One Box Only)
L          Cl.INTKACT                                                 TlJKTS                            FO                       ALTY                                 ;y                lJUIUC.I5tA: IUJIIS
0 II 0 Insurance                        PERSONAL INJURY                    PERSONAL INJURY         0 625 Drug Related Seizure                  a 422 Appea128 usc 158             0 375 False Claims Act
0 120 Marine                        0   310 Airplane                     0 365 Personal Injury -          of Property 21 USC 881               0 423 Withdrawal                   0 400 State Reapportionment
a 130 Miller Act                    a   315 Airplane Product                   Product Liability   a 6900ther                                        28 usc !57                   a 4Jo Antitrust
0 140 Negotiable Instrument                   Liability                  0 367 Health Carel                                                                                       a 430 Banks and Banking
a !50 Recovery of Overpayment a         320 Assault, Libel &                   Pharmaceutical                                                                                     a 450 Commerce
      & Enforcement of Judgment               Slander                          Personal Injury                                                 a   820 copyrights                 a 460 Deportation
0 !51 Medicare Act               a      330 Federal Employers'                 Product Liability                                               0 830Patent                        0 470 Racketeer Influenced and
a !52 Recovery ofDefaulted                    Liability                  a 368 Asbestos Personal                                               a   840 Trademark                        Corrupt Organizations
      Student Loans              0      340 Marine                              Injury Product                                                                                    ~ 480 Consumer Credit
      (Excludes Veterans)        a      345 Marine Product                      Liability                      LABOR                               SU(;IAJ                        a 490 Cable/Sat TV
a !53 Recovery of Overpayment                 Liability                   PERSONAL PROPERTY a 710 Fair Labor Standards                         0 861 HJA (139511)                 a 850 Securities/Commodities/
      ofVeteran' s Benefits      a      350 Motor Vehicle                a 370 Other Fraud                Act                                  a 862 Black Lung (923)                   Exchange
a 160 Stockholders' Suits        0      355 Motor Vehicle                a 371 Truth in Lending    a 720 Labor/Management                      a   863 DIWC/DIWW (405(g))         a 890 Other Statutory Actions
a 190 Other Contract                         Product Liability           0 380 Other Personal             Relations                            a   864 SSID Title XVI             a 891 Agricultural Acts
0 195 Contract Product Liability 0      360 Other Personal                     Property Damage     0 740 Railway Labor Act                     a   865 RSI (405(g))               o 893 Environmental Matters
a 196 Franchise                              Injury                      a 385 Property Damage     a 751 Family and Medical                                                       a 895 Freedom oflnformation
                                    0   362 Personal Injury -                  Product Liability          Leave Act                                                                     Act
                                             Medical Malpractice                                   a 790 Other Labor Litigation                                                   a 896 Arbitration
      REAL PROPERTY                        :JV. .KI£1ITS                                       ONS a 791 Employee Retirement                     FEDERA TAX SUITS                 a 899 Administrative Procedure
0 210 Land Condemnation             a   440 Other Civil Rights             Habeas Corpus:                lncOJOO Security Act                  0 870 Taxes (U.S. Plaintiff              Act/Review OJ Appeal of
a 220 Foreclosure                   a   441 voting                       0 463 Alien Detainee                                                           or Defendant)                   Agency Decision
a 230 Rent Lease & Ejectment        a   442 Employment                   a 510 Motions to Vacate                                               a   871 J.RS.-Third Party          a 950 Constitutionality of
0 240 Torts to Land                 0   443 Housing/                           Sentence                                                                26 usc 7609                      State Statutes
0 245 Tort Product Liability                 Accommodations              a 530 General
a 290 All Other Real Property       0   445 Amer. w/Disabilities -       0 535 Death Penalty              IMMIGRA ON
                                             Employment                    Other:                  a 462 Naturalization Application
                                    0   446 Amer. w/Disabilities-        0 540 Mandamus & Other    0 465 Other Jnnnigration
                                             Other                       a 550 Civil Rights              Actions
                                    0   448 Educatioo                    0 555 Prison Condition
                                                                         0 560 Civil Detainee -
                                                                               Conditions of
                                                                               Coofmement

V. ORIGIN (Piacean "X"inOneBoxOnly)
0 I Original              ]l( 2 Removed from                 0    3     Remanded from            0 4 Reinstated or       0 5 Transferred from                 0 6 Multidistrict
    Proceeding                  State Court                             Appellate Court              Reopened                Another District                     Litigation
                                                                                                                                  (s   cifY)
                                            Cite the U.S. Civil Statute under which you are filing (Donotcitejllrisdictitmlll- •nllss divBsily):
                                             15   usc 1592
VI. CAUSE OF ACTION                         t:B~r-ie-::-fd-:'es""c-.ri;...;.pt-io;.;n;..o-:f-ca_us_e_:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                             THIRD PARTY ASSIGNED DEBT COLLECTION
VII. REQUESTED IN     0                        CHECK IF THIS IS A CLASS ACfiON DEMAND$                                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.RCv.P.         75,000.00                                                                 JURYDEMAND:                  0 Yes     )!(No
VIII. RELATED CASE(S)
      IF ANY                                    (See instructions):
                                                                         JUDGE                                                                     DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
12/03/2013                                                                By:
FOR omcE USE ONLY

    RECEIPT#                    AMOUNT                                          APPLYINGIFP                                     JUDGE                                MAG. JUDGE




             ED cv 13                                                    -         02209
 Case 5:13-cv-02209-UA-DUTY Document 1-1 Filed 12/03/13 Page 25 of 25 Page ID #:27


 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:

                                                      UNITED STATES DISTRICT COURT
                 LQ         ~~·...:                  CENTRAL DISTRICT OF CALIFORNIA

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~~~\ j\i l ~ ~ .J~~~ j~J:fl l                                                                             CERTIFICATION AND NOTICE
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                                        Tt-l                           Defendant(s)                              (LocalRule7.1-l)

TO:        THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for
or party appearing in pro per, certifies th'a-:t-:t'h-e"fo'l;rlo-w-:i-:n-g'l,-is-te-d'p_a_r_ty--,(o_r_p_a_r-,-ti-es')-m-ay--.-h-av_e_a_p-ec_u_n-,-i-ary---:i-n-te_r_e-:st-=i-n
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                      PARTY                                                       CONNECTION I INTEREST




           Date                                                      Signatn



                                                                     Attorney of record for (or name of party appearing in pro per):




CV-30 (05113)                                                    NOTICE OF INTERESTED PARTIES
